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11

12                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14     ASHLEIGH ANGELO, JOHN KAHLIE,
       AMANDA ERICKSON, JOSE MENA,                 Case No.
15
       LINDA MITCHELL, and JAMES
16     THOMPSON,
                                                   COMPLAINT
17                       Plaintiffs,
18            vs.
                                                   DEMAND FOR JURY TRIAL
19
       THOMSON INTERNATIONAL,
20     INCORPORATED, a California
       Corporation; DOES 1-10, inclusive; and
21     ROE ENTITIES 1-10, inclusive,
22                       Defendants.
23

24    Plaintiffs Ashleigh Angelo, John Kahlie, Amanda Erickson, Jose Mena, Linda Mitchell, and
25    James Thompson by and through their attorneys, Gruber Law Group and Pritzker Hageman, P.A.,
26    as and for their Complaint against Defendants, allege as follows:
27
                                                 PARTIES
28


                                          COMPLAINT FOR DAMAGES
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 2    1.     Plaintiff, Ashleigh Angela (“Ashleigh”), is a citizen and resident of Henderson, Clark

 3    County, Nevada.

 4    2.     Plaintiff, John Kahlie (“John”) is a citizen and resident of Bend, Deschutes County,

 5    Oregon.

 6    3.     Plaintiff Amanda Erickson (“Amanda”), is a citizen and resident of Kalispell, Flathead

 7    County, Montana.

 8    4.     Plaintiff Jose Mena (“Jose”), is a citizen and resident of Watford, McKenzie County,

 9    North Dakota.

10    5.     Plaintiff Linda Mitchell (“Linda”), is a citizen and resident of Radnor, Delaware County,

11    Pennsylvania.

12    6.     Plaintiff James Thompson (“James”), is a citizen and resident of Yacolt, Clark County,

13    Washington.

14    7.     The defendant, Thomson International, Incorporated (“Defendant” or “Thomson”), is a

15    domestic for-profit corporation organized and existing under the laws of the State of California,

16    with its principal place of business located at 9852 Buena Vista Blvd., Bakersfield, Kern County,

17    California. Thomson was the manufacturer, supplier, packager, distributor, and/or seller of the

18    adulterated food product that is the subject of this action.

19    8.     DOES 1-10, inclusive, are persons, and ROE ENTITIES 1-10, inclusive, are corporations,

20    related subsidiary or parent entities, associations, or business entities, whose true names and

21    identities and capacities are unknown to Plaintiffs as this time. The DOE Defendants are

22    individual persons acting on behalf of or in concert with, or at the direction of, any of the

23    Defendants. The ROE Defendants may be corporations, associations, partnerships, subsidiaries,

24    holding companies, owners, predecessor or successor entities, joint ventures, parent corporations,

25    related business entities or the employer of any of the Defendants. Each named Defendant and the

26    DOE and ROE Defendants are legally responsible for the events and happenings stated in this

27    Complaint, and thus proximately caused injury and damages to Plaintiffs. In particular, said DOE

28    and ROE Defendants are responsible in full or in part for the production, distribution, processing,

      preparation, contamination, and sale of onions that were contaminated food products sold to or by

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 2    Defendant to Plaintiffs and caused their Salmonella Newport illnesses. Plaintiffs will ask leave of

 3    this Court to insert the true names and capacities for such DOE and ROE Defendants when

 4    discovered to substitute those true names as defendants into these proceedings for said DOE and

 5    ROE Defendants.

 6                                         JURISDICTION AND VENUE

 7    9.      This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

 8    1332(a) because the matter in controversy exceeds $75,000.00, exclusive of costs, it is between

 9    citizens of different states, and the Defendants have certain minimum contacts with the state of

10    California such that maintenance of the suit in this district does not offend traditional notions of

11    fair play and substantial justice.

12    10.     Venue in the United States District Court for the Eastern District of California is proper

13    pursuant to 28 U.S.C. § 1391(a)(2) because a substantial part of the events or omissions giving

14    rise to Plaintiffs’ claims and causes of action occurred in this judicial district, and because

15    Thomson is subject to personal jurisdiction in this judicial district at the time of the

16    commencement of the action.

17                                         GENERAL ALLEGATIONS

18    Salmonella

19    11.     Salmonella is the second most common intestinal infection in the United States. CDC

20    estimates Salmonella bacteria cause about 1.35 million infections, 26,500 hospitalizations, and

21    420 deaths in the United States every year. However, the real numbers are likely much higher as a

22    majority of cases go unreported.

23    12.     Salmonella bacteria have many different serotypes. Some serotypes are only found in one

24    kind of animal or in a single place. Others are found in many different animals and all over the

25    world. Some can cause especially severe illnesses when they infect people, while others cause

26    milder illnesses.

27    13.     Salmonella infections usually occur when a person eats food contaminated with the feces

28    of animals or humans carrying the bacteria. Nothing about the products look, taste, or smell

      would warn a consumer that it was contaminated with Salmonella bacteria.

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 2    14.     Salmonella outbreaks are commonly associated with eggs, meat, and poultry, but these

 3    bacteria can also contaminate other foods, such as fruits and vegetables. Foods that are most

 4    likely to contain Salmonella include raw or undercooked eggs, raw milk, contaminated water, and

 5    raw or undercooked meats.

 6    15.     Symptoms of Salmonella infection, or salmonellosis, range widely and are sometimes

 7    absent altogether. The most common symptoms include diarrhea, abdominal cramps, and fever.

 8    16.     Typical symptoms of Salmonella infection appear six to 72 hours after eating

 9    contaminated food, last for three to seven days without treatment, and usually consist of diarrhea,

10    abdominal cramps, fever, bloody diarrhea, vomiting, headaches, and body aches.

11    17.     Complications of Salmonella poisoning are more likely to occur among young children

12    and people age 65 or older. Possible complications like reactive arthritis are thought to occur in

13    two to 15 percent of salmonellosis patients. Symptoms include inflammation of the joints, eyes,

14    or reproductive or urinary organs. On average, symptoms appear 18 days after infection. Irritable

15    bowel syndrome (IBS) can also be a long-term complication. In rare circumstances, Salmonella

16    infection can result in the organism getting into the bloodstream and producing more severe

17    illnesses such as arterial infections (i.e., infected aneurysms), endocarditis, and arthritis.

18    18.     Salmonella infections generally last three to seven days and often do not require

19    treatment. People with severe dehydration may need rehydration through an IV. Antibiotics are

20    recommended for those at risk of invasive disease, including infants under three months old.

21    Typhoid fever, a life-threatening illness caused by Salmonella, is treated with a 14-day course of

22    antibiotics.

23    19.     Unfortunately, treatment of Salmonella has become more difficult as the pathogen has

24    become more resistant to antibiotics. Finding the right antibiotic for a case of Salmonella is

25    crucial to treating this bacterial infection.

26    The 2020 Salmonella Outbreak Associated with Thomson Onions

27    20.     In 2020, the U.S. Food and Drug Administration (FDA), along with the Centers for

28    Disease Control and Prevention (CDC) and state and local partners, investigated a multistate

      outbreak of Salmonella Newport infections. The Public Health Agency of Canada also

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 2    investigated an outbreak of Salmonella Newport illnesses that have a genetic fingerprint closely

 3    related to the U.S. outbreak.

 4    21.    Investigators in the U.S. and Canada collaborated to identify the source of this outbreak.

 5    On July 30, 2020, Canadian health officials announced that they had determined red onions from

 6    the U.S. to be the potential source of the Canadian outbreak. The Canadian investigation also

 7    prompted a recall warning by the Canadian Food Inspection Agency.

 8    22.    Building on this information, and on epidemiologic information on the U.S. outbreak from

 9    the CDC, the FDA's traceback investigation was able to identify Thomson as the likely source of

10    contaminated onions in the U.S. and Canada.

11    23.    As of October 8, 2020 the outbreak was declared over with 1,127 reported illnesses

12    reported from 48 states. States with Cases: Alaska (25), Alabama (2), Arizona (39), California

13    (128), Colorado (32), Connecticut (2), Delaware (2), Florida (8), Georgia (11), Idaho (43), Illinois

14    (54), Indiana (4), Iowa (31), Kansas (3), Kentucky (3), Maine (6), Maryland (7), Massachusetts

15    (2), Michigan (47), Minnesota (19), Mississippi (5), Missouri (11), Montana (72), Nebraska (10),

16    Nevada (11), New Hampshire (1), New Jersey (12), New Mexico (3), New York (14), North

17    Carolina (6), North Dakota (9), Ohio (11), Oregon (109), Pennsylvania (27), South Carolina (1),

18    South Dakota (23), Tennessee (7), Utah (115), Virginia (10), Washington (150), West Virginia

19    (3), Wisconsin (11), Wyoming (27). Illnesses started on dates ranging from June 19, 2020, to

20    September 11, 2020. Ill people range in age from less than 1 to 102 years, with a median age of

21    41. Fifty-eight percent of ill people were female. Of 705 ill people with information available,

22    167 hospitalizations were reported. No deaths were reported.

23    24.    Thomson recalled red, yellow, white, and sweet yellow onions shipped from May 1, 2020,

24    through October 8, 2020, the end of the outbreak, because they were contaminated or likely

25    contaminated with Salmonella.

26    25.    Thomson distributed its adulterated and potentially adulterated onions in five lb. cartons,

27    ten lb. cartons, 25 lb. cartons, 40 lb. cartons, 50 lb. cartons (bulk), two lb. mesh sacks, three lb.

28    mesh sacks, five lb. mesh sacks, ten lb. mesh sacks, 25 lb. mesh sacks, and 50 lb. mesh sacks,

      under the brand names Thomson Premium, TLC Thomson International, Tender Loving Care, El

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 2    Competitor, Hartley's Best, Onions 52, Majestic, Imperial Fresh, Kroger, Utah Onions, and Food

 3    Lion.

 4    26.     As part of Thomson’s recall, consumers, restaurants, and retailers were told not to eat,

 5    sell, or serve red, white, yellow, or sweet onions from Thomson or products containing

 6    Thomson’s onions. If the food product contained such onions, the consumers, restaurants, and

 7    retailers were told to throw the product out.

 8                           PLAINTIFF ASHLEIGH ANGELO’S INJURIES

 9    27.     In or around July 2020, Plaintiff Ashleigh Angelo consumed a Thomson onion.

10    28.     Ashleigh began to first feel ill on or about July 20, 2020. Ashleigh developed abdominal

11    pain, diarrhea, vomiting, and a fever among other symptoms.

12    29.     Ashleigh visited Henderson Hospital Emergency Room on or about July 22, 2020.

13    Ashleigh had a CT scan, given potassium infusion, and prescribed antibiotics. Blood and stool

14    cultures were performed, which came back positive for Salmonella Newport.

15    30.     Ashleigh was admitted and remained in the hospital until July 25, 2020. She was

16    discharged with antibiotics and anti-nausea medicine.

17    31.     Ashleigh was contacted by the Southern Nevada Health Department, which confirmed

18    that she was part of the Salmonella Newport outbreak linked to Thomson’s onions.

19    32.     As a result of consuming a Thomson onion, Ashleigh was infected with Salmonella

20    Newport, which caused her to develop salmonellosis.

21    33.     As a result of her salmonellosis, Ashleigh incurred medical bills, including hospital,

22    physician, and pharmacy expenses.

23    34.     As a result of her salmonellosis, Ashleigh has also suffered a loss of income.

24                              PLAINTIFF JOHN KAHLIE’S INJURIES

25    35.     In or around August 2020, John consumed a Thomson onion.

26    36.     John began to first feel ill on or about August 9, 2020. John developed abdominal pain,

27    diarrhea, and vomiting among other symptoms.

28    37.     John presented to the St. Charles Emergency Room on August 11, 2020 with continued

      symptoms of nausea, vomiting, diarrhea, and overall weakness among other symptoms.

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 2    38.    John was given anti-nausea and anti-diarrheal medicine to treat his symptoms and a stool

 3    sample was taken before his discharge. This came back positive for Salmonella Newport.

 4    39.    John was contacted by the Oregon Health Department, which confirmed that he was part

 5    of the Salmonella Newport Outbreak linked to Defendant’s onions.

 6    40.    As a result of consuming a Thomson onion, John was infected with Salmonella Newport,

 7    which caused him to develop salmonellosis.

 8    41.    As a result of his salmonellosis, John incurred medical bills, including hospital, physician,

 9    and pharmacy expenses.

10    42.    As a result of his salmonellosis, John has also suffered a loss of income.

11                          PLAINTIFF AMANDA ERICKSON’S INJURIES

12    43.    In or around June and July 2020, Amanda consumed a Thomson onion.

13    44.    Amanda began to first feel ill on or about July 16, 2020. Ashleigh developed abdominal

14    pain, diarrhea, and vomiting among other symptoms..

15    45.    Amanda presented to the Kalispell Regional Medical Center Emergency Room on July 16,

16    2020 with continued symptoms of nausea, vomiting, diarrhea, and severe abdominal pain.

17    Amanda had a CT scan and discharged with anti-nausea medicine.

18    46.    Blood and stool cultures were performed at Kalispell, which came back positive for

19    Salmonella Newport several days after her discharge.

20    47.    Amanda was seen again at Med North Urgent Care on July 18, 2020 because of continued

21    abdominal pain and bloody diarrhea. Amanda was given anti-diarrheal medicine, potassium, and

22    antibiotics to treat her symptoms.

23    48.    Amanda was contacted by the Montana Health Department, which confirmed that she was

24    part of the Salmonella Newport Outbreak linked to Defendant’s onions.

25    49.    As a result of consuming a Thomson onion, Amanda was infected with Salmonella

26    Newport, which caused her to develop salmonellosis.

27    50.    As a result of her salmonellosis, Amanda incurred medical bills, including hospital,

28    physician, and pharmacy expenses.

      51.    As a result of her salmonellosis, Ashleigh has also suffered a loss of income.

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 2                               PLAINTIFF JOSE MENA’S INJURIES

 3    52.    In or around July 2020, Jose consumed a Thomson onion.

 4    53.    Jose began to first feel ill on or about July 11, 2020. Jose developed abdominal pain,

 5    diarrhea, and loss of appetite among other symptoms.

 6    54.    Jose presented to the McKenzie County Urgent Care on July 12, 2020 with continued

 7    symptoms of diarrhea, severe abdominal pain, headache, nausea, and fever. After blood cultures

 8    were taken and IV of fluids administered, he was sent home with medicine and told to return if

 9    symptoms worsened or failed to improve.

10    55.    The next day, Jose presented to McKenzie County Emergency Room with worsening

11    symptoms as well as a high fever and fatigue. Blood and stool cultures were performed, which

12    eventually came back positive for Salmonella Newport.

13    56.    Jose was discharged on July 14, 2020 with antibiotics.

14    57.    Jose was contacted by the North Dakota Health Department, which confirmed that he was

15    part of the Salmonella Newport Outbreak linked to Defendant’s onions.

16    58.    As a result of consuming a Thomson onion, Jose was infected with Salmonella Newport,

17    which caused him to develop salmonellosis.

18    59.    As a result of his salmonellosis, Jose incurred medical bills, including hospital, physician,

19    and pharmacy expenses.

20    60.    As a result of his salmonellosis, Jose has also suffered a loss of income.

21                           PLAINTIFF LINDA MITCHELL’S INJURIES

22    61.    In or around July 2020, Linda consumed a Thomson onion.

23    62.    Linda began to first feel ill on or about July 21, 2020. Linda developed nausea, vomiting,

24    diarrhea, abdominal pain, and a fever among other symptoms.

25    63.    The same day, Linda presented to the Bryn Mawr Hospital Emergency Room with

26    uncontrolled diarrhea, abdominal pain, and overall worsening symptoms. Blood and stool cultures

27    were performed, which eventually came back positive for Salmonella Newport.

28    64.    Linda was discharged from the hospital on July 27, 2020, with antibiotics.

      65.    Linda was seen again at Main Line Family Practice on July 30, 2020, because of

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 2    continued loose stool Amanda was given potassium and magnesium to treat her symptoms.

 3    66.    Linda was contacted by the Pennsylvania Health Department, which confirmed that she

 4    was part of the Salmonella Newport Outbreak linked to Defendant’s onions.

 5    67.    As a result of consuming a Thomson onion, Linda was infected with Salmonella Newport,

 6    which caused her to develop salmonellosis.

 7    68.    As a result of her salmonellosis, Linda incurred medical bills, including hospital,

 8    physician, and pharmacy expenses.

 9                            PLAINTIFF JAMES THOMPSON’S INJURIES

10    69.    In or around July 2020, James consumed a Thomson onion.

11    70.    Later that day, James began to first feel ill. James developed nausea, vomiting, diarrhea,

12    and a fever among other symptoms.

13    71.    James presented to the Legacy Salmon Creek Emergency Room on July 14, 2020 with

14    continued symptoms of nausea, vomiting, diarrhea, and severe abdominal pain. At intake, he was

15    further diagnosed with acute renal failure.

16    72.    James was admitted and remained in the hospital until July 20, 2020. During this stay he

17    underwent many diagnostic tests, was given IV fluids, and blood and stool cultures were

18    performed, which came back positive for Salmonella Newport.

19    73.    James was contacted by the Washington Health Department, which confirmed that he was

20    part of the Salmonella Newport Outbreak linked to Defendant’s onions.

21    74.    As a result of consuming a Thomson onion, James was infected with Salmonella Newport,

22    which caused him to develop salmonellosis.

23    75.    As a result of his salmonellosis, James incurred medical bills, including hospital,

24    physician, and pharmacy expenses.

25    76.    As a result of his salmonellosis, James has also suffered a loss of income.
                                          CLAIMS FOR RELIEF
26                                        Strick Liability—Count I
27    77.    Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth herein.
28    78.    At all times relevant hereto, the Defendants were the manufacturer, supplier, packager,

      distributor, and/or seller of the adulterated food products that are the subject of this action.
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 2    79.     The adulterated food product that the Defendants manufactured, supplied, packaged,

 3    distributed, and/or sold was, at the time it left the Defendants’ control, defective and unreasonably

 4    dangerous for its ordinary and expected use because it was contaminated with Salmonella, a

 5    deadly pathogen.

 6    80.     The adulterated food product that the Defendants manufactured, supplied, packaged,

 7    distributed, and/or sold was delivered to the Plaintiffs without any change in its defective

 8    condition. The adulterated food product that the Defendants manufactured, supplied, packaged,

 9    distributed, and/or sold was used in the manner expected and intended, and was consumed by the

10    Plaintiffs.

11    81.     The Defendants owed a duty of care to the Plaintiffs to manufacture, supply, package,

12    distribute, and/or sell food that was not adulterated, that was fit for human consumption, that was

13    reasonably safe in construction, and that was free of pathogenic bacteria or other substances

14    injurious to human health. The Defendants breached this duty.

15    82.     The Defendants owed a duty of care to the Plaintiffs to manufacture, supply, package,

16    distribute, and/or sell food that was fit for human consumption and that was safe to consume to

17    the extent contemplated by a reasonable consumer. The Defendants breached this duty.

18    83.     The Plaintiffs suffered injury and damages as a direct and proximate result of the

19    defective and unreasonably dangerous condition of the adulterated food product that the

20    Defendants manufactured, supplied, packaged, distributed, and/or sold.

21                                     Breach of Warranty—Count II

22    84.     Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth herein.

23    85.     The Defendants are liable to the Plaintiffs for breaching express and implied warranties

24    that Defendants made regarding the adulterated product that the Plaintiffs purchased and/or

25    consumed. These express and implied warranties include the implied warranties of

26    merchantability and/or fitness for a particular use. Specifically, the Defendants expressly

27    warranted, through their sale of food to the public and by the statements and conduct of their

28    employees and agents, that the food the Defendants prepared, sold, and distributed was fit for

      human consumption and not otherwise adulterated or injurious to health.

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 2    86.     The contaminated food that the Defendants sold to the Plaintiffs would not pass without

 3    exception in the trade and was therefore in breach of the implied warranty of merchantability.

 4    87.     The contaminated food consumed by the Plaintiffs were not fit for the uses and purposes

 5    intended (i.e., human consumption); this product was therefore in breach of the implied warranty

 6    of fitness for its intended use.

 7    88.     As a direct and proximate cause of the Defendants’ breach of warranties, as set forth

 8    above, the Plaintiffs sustained injuries and damages in an amount to be determined at trial.

 9                                          Negligence—Count III

10    89.     Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth herein.

11    90.     The Defendants owed to the Plaintiffs a duty to use reasonable care in the manufacture,

12    supply, packaging, distribution, and sale of their food products, which duty would have prevented

13    or eliminated the risk that the Defendants’ food products would become contaminated with

14    Salmonella or any other dangerous pathogen. The Defendants breached this duty and were

15    therefore negligent.

16    91.     The Defendants had a duty to comply with all federal, state, and local statutes, laws,

17    regulations, safety codes, and provisions pertaining to the manufacture, distribution, storage, and

18    sale of their food product, but failed to do so, and are therefore negligent. The Plaintiffs were

19    among the class of persons designed to be protected by these statutes, laws, regulations, safety

20    codes, and provisions pertaining to the manufacture, distribution, storage, and sale of similar food

21    products. The Defendants breached this duty and were therefore negligent.

22    92.     The Defendants had a duty to properly supervise, train, and monitor their respective

23    employees, and to ensure that their respective employees complied with all applicable statutes,

24    laws, regulations, safety codes, and provisions pertaining to the manufacture, distribution,

25    storage, and sale of similar food products. The Defendants breached this duty and were therefore

26    negligent.

27    93.     The Defendants had a duty to use ingredients, supplies, and other constituent materials

28    that were reasonably safe, wholesome, and free of defects; that otherwise complied with

      applicable federal, state, and local laws, ordinances, regulations, codes, and provisions; and that

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 2    were clean, free from adulteration, and safe for human consumption. The Defendants breached

 3    this duty and were therefore negligent.

 4    94.      As a direct and proximate result of the Defendants’ negligence, the Plaintiffs sustained

 5    injuries and damages in an amount to be determined at trial.

 6                                       Negligence Per Se—Count IV

 7    95.      Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth herein.

 8    96.      The Defendants had a duty to comply with all applicable state and federal regulations

 9    intended to ensure the purity and safety of its food product, including the requirements of the

10    Federal Food, Drug, and Cosmetic Act (21 U.S.C. § 301, et seq.) and the California Health &

11    Safety Code (Division 104 et seq.).

12    97.      The Defendants breached that duty and, as a result, were negligent per se in their

13    manufacture, distribution, and sale of food adulterated with Salmonella, a deadly pathogen.

14    98.      Plaintiffs are among the class of people designed to be protected by these statutes, laws,

15    regulations, safety codes or provisions pertaining to the manufacture, distribution, storage, and

16    sale of similar food products.

17    99.      As a direct and proximate result of the negligent per se conduct by the Defendants, the

18    Plaintiffs sustained injury and damages in an amount to be determined at trial.

19                                          PRAYER FOR RELIEF:

20             WHEREFORE, Plaintiffs request of this Court the following relief:

21             A.     For general damages, in an amount to be proven at the time of trial;

22             B.     For medical, incidental, hospital, psychological care and other expenses, in an

23    amount to be proven at the time of trial;

24             C.     For loss of earnings and earning capacity, in an amount to be proven at the time of

25    trial;

26             D.     For an award of pre-judgment and post-judgment interest as provided by law;

27             E.     For consequential damages, in an amount to be proven at the time of trial;

28             G.     For an award providing for payment of costs of suit;

               H.     For such other and further relief as this Court may deem just and proper.

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 2                                    DEMAND FOR JURY TRIAL

 3          Plaintiffs hereby request a jury trial on all issues raised in this Complaint.

 4    Dated: November 4, 2021                      By:
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                                                   and
 9
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14                                                 Attorneys for Plaintiffs

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